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                                                                           U.S. DISTRICT COURT
                                                                         DISTR ICT OF VERMONT
                                                                                  FILED     I
                                   Donna Hall
                                 566 Halls Way                          ZOtS JAN 20 AH II: 23
                           Muncy, Pennsylvania 17756




The Honorable Christina Reiss
United States District Court for the District of Vermont
Burlington, Vermont 05402

Re: Alice H. Allen, et al., Plaintiffs, v. Dairy Farmers of America, Inc., and Dairy
Marketing Services, LLC, Defendants
Civil Action No. 5:09-CV-00230-cr

Your Honor,

I vehemently oppose the settlement! A trial is necessary to prevent the loss of
truth's triumph over evil's attempt to wipe away all the sinful, controlling,
corruptive, illegal connections and its greedy, immoral core that has hastened
the deaths of thousands of family farm dairy businesses that impact the
health, wealth, and well-being of all of us. This outcome will reach long into
the future and could be tragic if many are not forced to take responsibility for
past (and current) actions. A trial is so necessary for changes needed in such a
corrupted system as the dairy "business" has become!

The continued loss of dairy farmers because of control by the "all too
powerful" is putting our safe and adequate dairy and food supply in jeopardy
as those involved in the lawsuit continue to gain worldwide, not just
nationwide, power.

The true value of a "just" outcome is the changes that the defendants, and
others connected with them, should be forced to make.

I emphatically repeat, "A trial is needed!"

Thank you for your time and consideration.

Sincerely,
"Dairy Gram"
Donna L. Hall
